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 2
                              UNITED STATES DISTRICT COURT
 3
                           EASTERN DISTRICT OF WASHINGTON
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 5
     UNITED STATES OF AMERICA,                          No. 2:15-CR-008-WFN-4
 6
 7                         Plaintiff,                   ORDER GRANTING
                                                        UNOPPOSED MOTION
 8 vs.                                                  TO MODIFY
 9
   BRIENNA ELAINE ALLEN,
10
11                         Defendant.
12            Before the Court is Defendant’s Unopposed Motion to Modify Pretrial
13   Release Conditions. ECF No. 52. Defendant seeks to modify release condition No.
14   14, which prohibits contact with Co-Defendants. The United States and the U.S.
15   Probation Office are in agreement with the Motion.
16            By order filed April 2, 2015, in United States v. Teresa Louise Allen, the
17   Court permitted Teresa Allen to have contact with Brienna Allen. It follows that
18   an order should be entered in this case that allows contact. Accordingly,
19            IT IS ORDERED Defendant’s Motion, ECF No. 52 is GRANTED.
20   Defendant Brienna Allen may have contact with her mother and Co-Defendant Teresa
21   Allen.     Defendant shall not discuss this case in any way with Teresa Allen, or have
22   contact, direct or indirect with any other Co-Defendants.
23            All other terms and conditions of pretrial release not inconsistent herewith shall
24   remain in full force and effect.
25            DATED April 6, 2015.
26
27                                      _____________________________________
                                                  JOHN T. RODGERS
28                                       UNITED STATES MAGISTRATE JUDGE



     ORDER - 1
